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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §    CASE NO. 1:07-CR-140(2)
                                                §
JASON AARON ENLOE                               §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       The District Court referred this matter to the undersigned United States Magistrate Judge

for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On February 19, 2008, this cause came before the undersigned United States Magistrate

Judge for entry of a guilty plea by the Defendant, Jason Aaron Enloe, on Count One of the

charging Indictment filed in this cause. Count One of the Indictment charges that from on or

about July 2005, and continuing thereafter until on or about July 29, 2007, in the Eastern District

of Texas, and elsewhere, Thomas William Blevins, Jason Aaron Enloe, Larry Bruce Bean,and

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Clayton Travis Goodwin, Defendants herein, did knowingly and intentionally combine, conspire,

and agree with each other, and with other persons known and unknown to the Grand Jury to

knowingly and intentionally possess with intent to distribute 50 grams or more, but less than 500

grams, of a mixture or substance containing a detectable amount of methamphetamine a

Schedule II controlled substance in violation of Title 21, United States Code, Section 841(a)(1),

all in violation of Title 21, United States Code, Section 846.

       Defendant, Jason Aaron Enloe, entered a plea of guilty to Count One of the Indictment

into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).


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        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and

Defendant realizes that his conduct falls within the definition of the crime charged under 21

U.S.C. §§ 841(a)(1) and 846.

                                  STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

evidence, which was admitted into the record at the plea hearing. See Factual Basis and

Stipulation. If the case proceeded to trial, the Government and Defendant agreed and stipulated

to the information set forth in the factual basis which would be used by the Government in

support of the Defendant’s plea of guilty. The Government and Defendant agreed that the

Government would have proven that Defendant is one and the same with the person charged in

the Indictment and that the events described in the Indictment occurred on the dates and in the

places alleged in the Eastern District of Teas. The Government and Defendant agreed that the

Government would have proven, through the testimony of witnesses and through admissible

exhibits, beyond a reasonable doubt, each and every essential element of the offense alleged;

specifically, the Government would have proven certain stipulated facts set forth in the Factual

Basis, on file in the record of this cause.

        Defendant, Jason Aaron Enloe, agreed with the facts set forth by the Government and

signed the Factual Basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty


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plea knowingly, freely and voluntarily.

                                       RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Indictment on file in this

criminal proceeding. The Court also recommends that the District Court conditionally accept the

plea agreement.1 Accordingly, it is further recommended that, Defendant, Jason Aaron Enloe,

be finally adjudged as guilty of the charged offense under Title 21, United States Code, Sections

841(a)(1) and 846.

         Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

that the District Court may reject his plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the



         1
           “(3) Judicial Consideration of a Plea Agreement.
(A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
agreement, reject it, or defer a decision until the court has reviewed the presentence report.
(B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
(4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
(5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
(A) inform the parties that the court rejects the plea agreement;
(B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
an opportunity to withdraw the plea; and
(C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity

to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

allocute before the District Court before imposition of sentence.

                                         OBJECTIONS

       Within ten (10) days after receipt of this report, any party may serve and file written

objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

law and recommendations contained within this report within ten (10) days after service shall bar

an aggrieved party from de novo review by the District Judge of the proposed findings,

conclusions and recommendations, and from appellate review of factual findings and legal

conclusions accepted by the District Court except on grounds of plain error. Douglass v. United

Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).            The

constitutional safeguards afforded by Congress and the courts require that, when a party takes

advantage of his right to object to a magistrate’s findings or recommendation, a district judge

must exercise its nondelegable authority by considering the actual evidence and not merely by


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reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

1981) (per curiam).



                   SIGNED this the 20th day of February, 2008.




                                                     ____________________________________
                                                     KEITH F. GIBLIN
                                                     UNITED STATES MAGISTRATE JUDGE




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